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KENJI M. PRICE                 #10523
United States Attorney
District of Hawaii

RONALD G. JOHNSON               #4532
GREGG PARIS YATES               #8225
Assistant United States Attorneys
Room 6-100, PJKK Federal Building
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
Fax:        (808) 541-2958
E-Mail:     Ron.Johnson@usdoj.gov
            Gregg.Yates@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               )   CR. NO. 17-00101 LEK
                                        )
          Plaintiff,                    )   NOTICE REGARDING TO
                                        )   DEFENDANT’S MOTION FOR
    vs.                                 )   RETURN OF PROPERTY;
                                        )   CERTIFICATE OF SERVICE
ANTHONY T. WILLIAMS,                    )
                                        )
          Defendant.                    )
                                        )

                        NOTICE REGARDING
            DEFENDANT’S MOTION FOR RETURN OF PROPERTY

      The government respectfully submits this Notice to the Court Regarding

Defendant Anthony T. Williams’s (Defendant) Motion for Return of Property. In
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short, the government must correct a representation made by the undersigned

counsel at the hearing upon the motion on January 31, 2019. Prior to the hearing,

the undersigned counsel conferred with the case agent from the Federal Bureau of

Investigation regarding the items that the defendant sought returned in his motion.

Because of the vague nature of the defendant’s motion, the government was only

able to identify certain items in discovery that the defendant referenced in his

motion, such as his iPhones, computers, and laptops. The undersigned counsel

then drafted the government’s response based upon those items.

      Among the items that defendant sought in his motion, which the Court also

inquired about at the January 31, 2019 hearing, were “music cd’s, audio cd’s of

religious lectures, [and] dvd’s of religious lectures.” At the hearing, counsel for

the government explained that he understood these items to represent the contents

of a black compact disk (CD) case that was seized from the defendant at the time

of his arrest, and that the government had searched these CDs and produced them

in discovery. Counsel understood that the government made a discovery

production of digital religious lecture files on July 26, 2018.

      Since the January 31, 2019 hearing, counsel has learned that the

government’s July 26, 2018 production was of just a single disk of religious

lectures, and not of all the disks in the referenced CD case. Counsel has since




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obtained the CD case, which contains approximately 47 disks, and has confirmed

that the contents of the CD case were not all searched and produced in discovery.

      The government has begun reviewing these disks. Should any materials be

relevant to its investigation and this prosecution, these materials will be produced

in discovery, as the government indicated it had done at the hearing. Alternatively,

if any disk is found not to contain any information relevant to a criminal

investigation of the defendant and his prosecution, the disk will be returned to an

appropriate person designated by the defendant, as the defendant has requested in

his motion.1

      The government regrets any inconvenience that the undersigned counsel’s

misunderstanding and misstatement has caused.

               DATED: February 8, 2019, at Honolulu, Hawaii.

                                               KENJI M. PRICE
                                               United States Attorney
                                               District of Hawaii


                                               By /s/ Gregg Paris Yates
                                                 GREGG PARIS YATES
                                                 Assistant U.S. Attorney




1
 The government has already uncovered files of a sexually-explicit nature on these
CDs. Because such items are prohibited at the Federal Detention Center where the
defendant is detained, these items cannot be turned over to him there.
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                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Attorney for Defendant
      ANTHONY T. WILLIAMS

Served by First Class Mail:

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820

             DATED: February 8, 2019, at Honolulu, Hawaii.


                                             /s/ Melena Malunao
                                             U.S. Attorney’s Office
                                             District of Hawaii
